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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION

             UNITED STATES OF AMERICA            :
                                                 :     CRIMINAL ACTION
                         v.                      :
                                                 :     NO. 1:10-CR-00086-RWS-ECS-1
             MIGUEL ALVARADO-LINARES             :
             a/k/a JOKER                         :

                                    REPORT AND RECOMMENDATION
                                OF UNITED STATES MAGISTRATE JUDGE

                                                 I.
                                             The Motion

                     This matter is before the Court on Defendant’s motion to

             dismiss for denial of the right to a speedy trial, [Doc. 542].           The

             government responded to the motion on May 13, 2011, [Doc. 552].

             Defendant filed no reply.        For the reasons stated herein, the

             undersigned RECOMMENDS that the motion be DENIED.

                                                II.
                                      Issues and Contentions

                     Defendant moves to dismiss the indictment with prejudice for

             violation of the Speed Trial Act, 18 U.S.C. § 3161 et seq.; for

             violation of Defendant’s Sixth Amendment speedy trial rights; and

             for violation of Defendants Fifth Amendment rights based upon pre-

             indictment delay.    See Def’s Motion to Dismiss at 6 & n.2.           [Doc.

             542].




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                                                   III.
                                                Discussion

             A.     Speedy Trial Act

                     The record shows that Defendant was arrested on January 24,

             2009, by state law enforcement officers and charged in Gwinnett

             County with the state crime of murder. See Motion to Dismiss, [Doc.

             542, at 1]. See also Gov’t Response at 1, [Doc. 552].              On October

             27, 2009, Defendant was indicted in this Court on a charge of being

             an alien in possession of a firearm in violation of 18 U.S.C.

             § 922(g)(5).      See Case No. 1:09-CR 473, [Doc. 5].      Within 30 days of

             the federal indictment on the firearms charge, Defendant appeared

             and was arraigned.       Id., [Doc. 5].     On February 24, 2010, Defendant

             was indicted in this Court on the instant charges of Racketeering

             and other offenses.       [Doc. 1].    He appeared for arraignment within

             30 days, on March 5, 2010.          [Doc. 71].     The charges in Case No.

             1:09-CR-473 were dismissed. [Doc. 22]. His detention was continued

             and he remains in custody.        [Doc. 216].

                     Defendant argues that he should be considered to have been

             detained on the instant charges since January 24, 2009, when he was

             arrested on the state charges in Gwinnett County. It follows,

             according to Defendant, that his indictment on the instant charges

             occurred more than 30 days after his arrest, in violation of the



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             Speedy Trial Act, and that he is entitled to dismissal of the

             indictment.       See 18 U.S.C. § 3162.

                  In    support      of   his    arguments         under   the   Speed     Trial    Act,

             Defendant points to certain e-mail correspondence obtained under

             Georgia’s       Open     Records        Act,       O.C.G.A.   §     50-18-70,    showing

             communications         between    the    Gwinnett      County     District    Attorney’s

             Office    and    the    office     of    the   United     States     Attorney    in    this

             district.       Def’s    Motion    to     Dismiss,      [Doc.     542,   at   4].     These

             communications show that the state law enforcement authorities were

             aware that the federal authorities were investigating; that federal

             charges against Defendant were contemplated; and that, in the event

             of such charges, the state charges would likely be dismissed.                           See

             id. at Exhs. A, B, C, D.           Defendant argues that these communications

             show that the state arrest was a ruse or a pretext designed to allow

             the government to hold Defendant until the federal charges were

             brought, solely for the purpose of bypassing the requirements of the

             Speedy Trial Act.         Id. at 5.

                  The government responds that the speedy trial 30-day indictment

             clock does not begin to run until the Defendant passes into federal

             custody and that a state arrest does not trigger the time limits.

             Gov’t Response, [Doc. 552, at 3].                  The government cites a series of

             Eleventh Circuit decisions supporting this proposition, as well as



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             a series of other circuit court decisions also standing for the same

             general proposition.        Id.    The government submits that none of the

             e-mail correspondence shows that Defendant was held in state custody

             on behalf of the federal government.               Id. at 7-8.

                    The undersigned agrees with the government that there is no

             basis for dismissal of this indictment on the grounds that Defendant

             was not indicted within the 30-day period provided under the Speedy

             Trial Act.    As demonstrated by the cases cited by the government,

             the proposition that the 30-day clock does not start until the

             Defendant is arrested on federal charges is well-established.                 See

             United States v. Drummond, 240 F.3d 1333, 1335-36 (11th Cir. 2001)

             (immigration detention did not trigger Speedy Trial Act) (internal

             quotation and citation omitted); United States v. Russo, 796 F.2d

             1443, 1450-51 (11th Cir. 1986); United States v. Shahryar, 719 F.2d

             1522, 1524 (11th Cir. 1983) (“[I]t is only a federal arrest, not a

             state arrest, which will trigger the commencement of the time limits

             set in the Act.”) (internal citation omitted); United States v.

             Hatcher, 300 F. App’x 659, 661 (11th Cir. 2008) (30-day period runs

             from   date   of   arrest    on     federal   charges,     even   where   federal

             government    extensively         involved    in    ongoing   investigation    of

             defendant’s case); Baxter v. United States, 140 F. App’x 82, 83

             (11th Cir. 2005) (“[I]t is only a federal arrest, not a state



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             arrest, which will trigger the commencement of the time limits set

             in the Act.”); accord United States v. Griffin, 287 F. App’x 845,

             848 (11th Cir. 2008). Neither substantial nor extensive federal

             involvement in a state investigation or arrest is sufficient to

             start the speedy trial clock.          Russo, 796 F.2d at 1450-51 (quoting

             United States v. Iaguinta, 674 F.2d 260, 267-68 (4th Cir. 1982));

             Shahryar, 719 F.2d at 1524-25.              Defendant has cited no Eleventh

             Circuit authority to the contrary.

                     Defendant has not in this case made a showing of substantial or

             extensive involvement of the federal government in the state murder

             charges     that   were    pending   against   Defendant    when   the   instant

             indictment was returned, much less a showing that the state charges

             were orchestrated by the federal government as a ruse for the

             purpose of holding Defendant pending the filing of its charges.

             Indeed, Defendant did not reply in response to the government’s

             citation of authority in any attempt to distinguish or controvert

             the     government’s      arguments.     Under   these     circumstances,   the

             undersigned concludes that Defendant’s motion under the Speedy Trial

             Act, insofar as he argues that the 30-day clock for indictment was

             violated, is without merit and should be DENIED.

             B.     Defendant’s Fifth and Sixth Amendment challenges




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                  Defendant asserts in a single footnote in his motion that his

             speedy trial rights under the Fifth and Sixth amendments were also

             violated.    See Def’s Brief at 6, n.2.     The government responded on

             the merits to Defendant’s footnote in its response. Gov’t Response,

             [Doc. 552, at 8-10].     Defendant filed no reply to the government’s

             response controverting the government’s arguments.

                  Defendant’s footnote is insufficient to preserve an issue

             regarding the violation of Defendant’s Fifth and Sixth Amendment

             rights to a speedy trial.        No details are set forth that would

             amount to an arguable basis for a violation of these constitutional

             rights, nor is the violation particularized sufficiently to warrant

             a hearing.    Cf., United States v. Richardson, 764 F.2d 1514, 1527

             (11th Cir. 1985) (“A motion to suppress must . . . be sufficiently

             definite, specific, detailed, and nonconjectural to enable the court

             to conclude that a substantial claim is presented.”); see also

             United States v. Foxman, 87 F.3d 1220, 1222 (11th Cir. 1996) (heavy

             burden on defendant to show 6th Amendment violation); United States

             v. Knight, 562 F.3d 1314, 1325 (11th Cir. 2009) (under 5th Amendment

             Defendant must show actual prejudice from deliberate design by

             government to obtain advantage).          Furthermore, the failure of

             Defendant to respond to the government’s arguments is a sufficient

             basis for the Court to conclude that Defendant abandoned these un-



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             particularized claims.       Cf., LR 7.1.B, NDGa (“Failure to file

             response shall indicate no opposition . . . .”).



                                                 IV.
                                             Conclusion

                  In conclusion, the undersigned RECOMMENDS that the motion to

             dismiss, [Doc. 542], be DENIED on all grounds asserted.



                  SO REPORTED AND RECOMMENDED, this 14th day of November, 2011.


                                                        s/ E. Clayton Scofield III
                                                      E. Clayton Scofield III
                                                      UNITED STATES MAGISTRATE JUDGE




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